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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

    IN RE:                                           §
                                                     §              CASE NO 21-30107
    PDG PRESTIGE, INC.,                              §
                                                     §
                                                     §
             Debtor.                                 §

          CERTIFICATE OF NO OBJECTION REGARDING FIRST INTERIM
          FEE APPLICATION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
          AS COUNSEL TO DEBTOR AND DEBTOR IN POSSESSION (RE:
          DOCKET NO. 51)

           The undersigned certifies that as of May 27, 2021 no objection and no request for hearing
   have been filed on the docket of this case or otherwise received by the undersigned regarding the
   above-captioned motion or item which was filed on May 5, 2021. The latest possible day for the
   filing of an objection and/or request for hearing was May 26, 2021 under 21-day notice.
   Dated: May 27, 2021                    Respectfully submitted:

                                           WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                           By:       /s/ Jeff Carruth
                                                 JEFF CARRUTH
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                                           ATTORNEYS FOR DEBTOR PDG PRESTIGE, INC.

                                  CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on April 15, 2021 a true and correct copy of the
   foregoing pleading was served via CM/ECF to all parties authorized to receive electronic notice
   in this case.
                                                /s/ Jeff Carruth
                                                Jeff Carruth




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